Case 2:10-cr-00047-EFS   ECF No. 135   filed 03/08/11   PageID.1508 Page 1 of 9
Case 2:10-cr-00047-EFS   ECF No. 135   filed 03/08/11   PageID.1509 Page 2 of 9
Case 2:10-cr-00047-EFS   ECF No. 135   filed 03/08/11   PageID.1510 Page 3 of 9
Case 2:10-cr-00047-EFS   ECF No. 135   filed 03/08/11   PageID.1511 Page 4 of 9
Case 2:10-cr-00047-EFS   ECF No. 135   filed 03/08/11   PageID.1512 Page 5 of 9
Case 2:10-cr-00047-EFS   ECF No. 135   filed 03/08/11   PageID.1513 Page 6 of 9
Case 2:10-cr-00047-EFS   ECF No. 135   filed 03/08/11   PageID.1514 Page 7 of 9
Case 2:10-cr-00047-EFS   ECF No. 135   filed 03/08/11   PageID.1515 Page 8 of 9
Case 2:10-cr-00047-EFS   ECF No. 135   filed 03/08/11   PageID.1516 Page 9 of 9
